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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                  CASE NO. 18-CV-61463-SELTZER

  JANET FRANCIS,

         Plaintiff,

  v.

  MSC CRUISES, S.A.,

        Defendant.
  ____________________/

                      PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S
                        AFFIRMATIVE DEFENSES AND FEE CLAIM
                       OPPOSED IN PART AND UNOPPOSED IN PART

         This is a maritime case arising from a slip and fall that occurred on an MSC cruise. MSC
  filed an Answer and Affirmative Defenses that needs trimming. (DE 14.) MSC partially agrees.
  I.     THE AGREED ITEMS.

         MSC asked for attorney’s fees in its Answer. (DE 14, p. 11.) General Maritime law does
  not allow for attorney’s fees in a case like this. See Ins. Co. of N. Am. V. M/V Ocean Lynx, 901
  F.2d 934, 941 (11th Cir. 1990). MSC agrees with this part of the Motion. Therefore, Plaintiff
  asks for an order striking MSC’s attorney’s fee claim.
         MSC’s twelfth defense seeks to apportion fault. (DE 14, p. 9.) General Maritime law
  follows the rule of joint and several liability. Norfolk & Western Ry. Co. v. Ayers, 538 U.S. 135,
  164 (2003). MSC agrees to strike the second sentence of its twelfth defense stating:
                   Accordingly, any recovery by Plaintiff against the MSC should be
                   reduced in proportion to the respective negligence, fault, or
                   responsibility of all other parties, persons, or entities, including
                   their agents, servants, representatives, or employees who
                   contributed to or caused any injury or damages to Plaintiff, if any,
                   in accordance with the law governing comparative fault.”
  (DE 14, p. 9.)
  Therefore, Plaintiff asks for an order striking that sentence of the twelfth defense and will
  address the remainder of the defense below.
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  II.    GENERAL MARITIME LAW DOES NOT ALLOW APPORTIONMENT OF
         FAULT.

         MSC’s tenth and twelfth defenses seeks to apportion fault to the wrongful acts of others.
  (DE 14, p. 9.) General Maritime law does not allow a defendant to place a non-party on the
  verdict form or to argue the negligence of a non-party is responsible for a plaintiff’s claim to a
  jury. Groff v. Chandris, 835 F. Supp. 1408, 1410 (S.D. Fla. 1993). Under General Maritime
  law, a plaintiff is entitled to a “judgment for the full amount from any and all joint tortfeasors
  under the doctrine of joint and several liability.” Edmonds v. Compagnie Generale
  Transatlantique, 443 U.S. 256, 260 n.7 (1979). “[J]oint and several liability remains the rule in
  admiralty.” Ayers, 538 U.S. at 164. MSC agrees to strike part of the twelfth defense as stated
  above. That agreement evinces the infirmity of the entire twelfth defense and the tenth defense.
  Therefore, this Court should strike the tenth and twelfth defenses because General Maritime law
  does not allow apportionment of fault.
  III.   GENERAL MARITIME LAW DOES NOT ALLOW THE COLLATERAL
         SOURCE DEFENSE.

         MSC’s sixteenth defense seeks a set-off for collateral source payments to the Plaintiff.
  (DE 14, p. 10.) General Maritime law prohibits a defendant from reducing its liability to an
  injured plaintiff because of payments made by third parties and collateral sources. Borque v.
  Diamond M. Drilling Co., 623 F.2d 351, 354 (5th Cir. 1980). Borque binds this Court. See
  Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981) (stating decisions of the
  former Fifth Circuit issued before close of business on September 20, 1981 are binding precedent
  in the Eleventh Circuit). A defendant in a maritime case does not get a set-off for health
  insurance payments. Johnson v. Cenac Towing, Inc., 544 F.3d 296, 304-07 (5th Cir. 2008).
  State set-off and collateral source statutes do not apply in maritime cases because they conflict
  with, and endanger the uniformity of, general maritime law. Barry v. Carnival Corp., No. 05-
  CV-22549-UNGARO, slip op. at 2-3 (S.D. Fla. June 17, 2010); Stanley v. Bertram-Trojan, Inc.,
  868 F. Supp. 541, 542-44 (S.D.N.Y. 1994). Therefore, Plaintiff asks for an order striking the
  sixteenth defense.
  IV.    THE ACT OF GOD DEFENSE IS LEGALLY INSUFFICIENT.
         Plaintiff slipped and fell on a slippery wet substance on the deck of one of MSC’s ships
  just a few feet away from some crew members. (DE 1 ¶¶ 81-86.) MSC’s twentieth defense
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  claims an Act of God injured the Plaintiff. (DE 14 p. 10.) An Act of God implies “an entire
  exclusion of all human agency from causing the loss or damage.” Compania De Vapores Insco,
  S.A. v. Missouri Pac. R. Co., 232 F.2d 657, 659 (5th Cir. 1956). A party claiming the Act of God
  defense bears a heavy burden. Boudoin v. J. Ray McDermott & Co., 281 F.2d 81, 88 (5th Cir.
  1960). “The Act of God defense denies that the defendant's acts or omissions, even assuming
  they did not meet the standard of reasonable care under the circumstances, caused the accident.”
  Fischer v. S/Y NERAIDA, 508 F.3d 586, 596 (11th Cir. 2007). In other words, the event would
  have happen regardless if the Defendant would have taken all reasonable measures. Id. One-
  hundred mile per hour winds aren’t an Act of God. Bunge Corp. v. Freeport Marine Repair,
  Inc., 240 F.3d 919, 926 (11th Cir. 2001). And a slippery mess on the floor of MSC’s ship
  certainly isn’t one either. To the contrary, God would have parted the mess. Therefore, this
  Court should strike the twentieth defense.
  V.     CONCLUSION.
         If the defenses discussed above are not stricken then the parties will spend time and
  money conducting discovery on them, and that discovery will undoubtedly result in this Court’s
  time being spent resolving disputes about that discovery, and all of that will have been in vain
  because General Maritime law does not allow the defenses. Wherefore, Plaintiff asks for an
  order granting this Motion. I certify I made a good-faith attempt to resolve the issues in this
  Motion before filing it. See S.D. Fla. Local R. 7.1(a)(3).
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        My signature above certifies I served this document by CM/ECF on August 24th, 2018
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